Case 9:19-cv-81152-RLR Document 29 Entered OhrFEB eR Pose UEP eS RAVE 1of1

SOUTHERN DISTRICT OF FLORIDA

CASE NO: 9:19-cv-81152-RLR

MEDIATION REPORT

WINDSONG AT BOCA DEL MAR
CONDOMINIUM ASSOCIATION, INC,

Plaintiff(s),
vs
EMPIRE INDEMNITY INSURANCE,

Defendant(s).
/

The undersigned, John W. Salmon, Certified Mediator from Salmon & Dulberg Mediation
Services, Inc., hereby reports to the Court that a mediation conference in this cause was held on:
January 21, 2020. The results of the mediation conference are as follows:

All required parties were present or

The following required parties were not present:

An agreement was reached.
A confidential settlement agreement was reached.
No agreement was reached.

The parties have agreed to adjourn and reconvene at a later date to continue the
mediation. The Court will be notified of the continuation date.

The parties have agreed to continue negotiating with the assistance of the mediator.
If no further Report of Mediator is filed on or before , the Court shall
presume that an Impasse has occurred.

Other:

XxX
AW. Salmon, Esq.
Florida Bar No.: 271756

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Copies furnished to: Counsel
